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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


    PROCCOR PHARMACEUTICALS, INC.,

          Plaintiff,

    v.                                            CASE NO. 8:22-cv-2227-SDM-SPF

    WORLD HEALTH PRODUCTS, LLC,
    and VITAMIN SHOPPE INDUSTRIES,
    LLC,

          Defendants.
    ___________________________________/


                                           ORDER

          An earlier order (Doc. 177) allows each party to respond in a paper not ex-

    ceeding twenty-five pages. In brazen violation of the earlier order, the defendants re-

    spond (Doc. 178) in a thirty-two-page paper. The response is STRICKEN. No later

    than DECEMBER 29, 2023, the defendants may respond in accord with the earlier

    order (Doc. 177). The defendants’ counsel is ADMONISHED for this conduct and

    advised to conform to applicable rules and orders.

          After an earlier order (Doc. 177) timely resolves a “time-sensitive” motion, the

    plaintiff moves (Doc. 181) unopposed to extend the time within which the plaintiff

    may respond to the defendants’ motion for summary judgment. Because the docket

    reveals that the plaintiff responded (Doc. 182), the motion (Doc. 181) is DENIED

    AS MOOT.
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          Edward F. McHale’s and Andrew D. Lockton’s motion (Doc. 175) to with-

    draw as counsel for the defendants is GRANTED. Each attorney is WITHDRAWN

    as counsel. The clerk must terminate each attorney from the service list.

          The plaintiff moves (Docs. 169 and 183) for oral argument on each party’s

    motion for summary judgment. Each motion is DENIED.

          ORDERED in Tampa, Florida, on December 21, 2023.




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